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 8                  United States District Court
 9                  Central District of California
10                       Western Division
11

12    UNITED STATES OF AMERICA,                      CV 17-00399 TJH (JCx)
13                         Plaintiff,
14          v.
                                                            Order
15    $146,780.00 IN U.S. CURRENCY, et
      al.,                                                  [30]
16
                           Defendants.
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19         The Court has considered Claimant Manuela Gomez’s motion to lift the stay,
20   together with the moving and opposing papers.
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22         It is Ordered that the motion be, and hereby is, Denied.
23

24   Date: July 10, 2018
25                                           __________________________________
26                                                  Terry J. Hatter, Jr.
                                             Senior United States District Judge
27

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